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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RAMONA THURMAN BIVINS,                  )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )         Civil Action Number:
                                        )         1:22-cv-04149-WMR
FELICIA FRANKLIN, in her                )
individual and official capacities;     )
ALIEKA ANDERSON, in her                 )
individual and official capacities;     )
GAIL HAMBRICK, in her                   )
individual and official capacities;     )
and CLAYTON COUNTY,                     )
GEORGIA,                                )
                                        )
      Defendants.                       )


     DEFENDANT FELICIA FRANKLIN’S ANSWER TO PLAINTIFF’S
                         COMPLAINT
      COMES NOW Felicia Franklin (“Franklin”) or (“this Defendant”), named as

a defendant in her individual and official capacity as a Clayton County

Commissioner in the above-styled action, by and through undersigned counsel, and

submits this her Answer to Plaintiff’s Complaint, showing as follows:

                                 FIRST DEFENSE

      The Complaint fails to state a claim upon which relief can be granted against

Defendant Franklin.
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                               SECOND DEFENSE

      Defendant Franklin, in her individual capacity, did not violate clearly

established law of which reasonable public officials would be on notice in the

performance of their discretionary duties; therefore, she is entitled to the defense of

qualified immunity.

                                THIRD DEFENSE

      The allegations in Plaintiff’s Complaint do not rise to the level of a

constitutional deprivation under color of state law and, therefore, do not support a

claim for relief under 42 U.S.C. § 1983.

                               FOURTH DEFENSE

      Plaintiff did not engage in speech, expression, or association protected by the

First Amendment of the United States Constitution.

                                 FIFTH DEFENSE

      Defendant Franklin denies that Plaintiff’s alleged speech, expression, or

association motivated her decisions or actions. Franklin asserts that her decisions

and actions with respect to Plaintiff and Plaintiff’s invalid CFO contract were

unconnected to Plaintiff’s alleged speech, expression, association, or any other

alleged protected activity engaged in by Plaintiff.




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                                  SIXTH DEFENSE

      The actions taken by Defendant Franklin were based on legitimate, non-

discriminatory, and valid business reasons and reasonable factors completely

separate and apart from Plaintiff’s so-called speech, expression, or association.

                              SEVENTH DEFENSE

      The actions of Defendant Franklin were not the proximate cause of any

alleged injury of damages complained of in the Complaint, and by reason of such

lack of proximate causation, Plaintiff is not entitled to recovery any sum whatsoever

from Defendant Franklin.

                               EIGHTH DEFENSE

      Any injury of damages suffered by Plaintiff was the result of an independent

intervening cause and not the result of any alleged negligence or other action or

inaction of Defendant Franklin.

                                  NINTH DEFENSE

      Defendant Franklin raises and/or preserves the defense of after-acquired

evidence.

                                TENTH DEFENSE

      Plaintiff has failed to mitigate her damages.




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                               ELEVENTH DEFENSE

      To the extent that Plaintiff has failed to mitigate her damages, or to the extent

Plaintiff has caused the alleged damages by her own conduct or action, any damage

aware to which Plaintiff may otherwise be entitled must be reduced.

                               TWELFTH DEFENSE

      Some or all of Plaintiff’s claims may be barred by the doctrines of laches,

waiver, estoppel, unjust enrichment, unclean hands, and/or other equitable defenses.

                              THIRTEENTH DEFENSE

      Defendant Franklin raises and/or reserves any mixed motive defense that may

be applicable in this case.

                              FOURTEENTH DEFENSE

      Punitive damages are not appropriate against Defendant Franklin, in her

individual capacity, because such damages are only available upon proof of a

"reckless or callous disregard for the plaintiff's rights, [or] intentional violations of

federal law." Smith v. Wade, 461 U.S. 30, 51 (1983). Punitive damages are not

appropriate against Defendant Franklin, in her official capacity, because such

damages are actually against Clayton County and punitive damages are not

permitted against a governmental entity. Brandon v. Holt, 469 U.S. 470 (1985).




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                             FIFTEENTH DEFENSE

      The County did not properly amend their local acts under the Georgia

Constitution when it attempted to create the position of Chief Financial Officer. As

such, because the CFO position was never properly created, Plaintiff’s claims

regarding termination must fail. See Ga. Const. Art. 9, § 2, ¶ 1.


                             SIXTEENTH DEFENSE

      Defendant Franklin raises the defenses, as applicable, of official immunity,

good faith immunity, and legislative immunity.

                           SEVENTEENTH DEFENSE

      Defendant Franklin raises the defense of good faith.

                            EIGHTEENTH DEFENSE

      Retaliation for allegedly engaging in protected conduct was not the but-for

cause of, or a substantial or motivating factor for, the acts or omissions challenged

by Plaintiff.

                             NINTEENTH DEFENSE

      Defendant Franklin reserves the right to raise any additional affirmative

defenses that may be discovered during the course of these proceedings.


      Without waiving any of the above Defenses, Defendant Franklin responds to

the specific allegations and averments in Plaintiff’s Complaint as follows:


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    DEFENDANT FELICIA FRANKLIN’S RESPONSE TO “PARTIES,
                JURISDICTION, AND VENUE”
                                         1.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 1 of the Complaint and, thus,

they are denied.

                                         2.

      The allegations in the first and third sentences of Paragraph 2 of the Complaint

are admitted. The allegation in the second sentence of Paragraph 2 is merely a

statement of Plaintiff’s legal theory to which no response is required. To the extent

that sentence two of Paragraph 2 implies or infers liability against Defendant

Franklin, it is expressly denied.

                                         3.

      In response to the allegations in Paragraph 3, of the Complaint, this Defendant

admits that Alieka Anderson is the District 1 Commissioner of the Clayton County

Board of Commissioners. This Defendant is without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations in Paragraph

3 of the Complaint and, thus, the remaining allegations are denied.

                                         4.

      In response to the allegations in Paragraph 4, of the Complaint, this Defendant

admits that Gail Hambrick is the District 2 Commissioner of the Clayton County

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Board of Commissioners. This Defendant is without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations in Paragraph

4 of the Complaint and, thus, the remaining allegations are denied.

                                            5.

      In response to the allegations in Paragraph 5, of the Complaint, this Defendant

admits that Jeffrey E. Turner is the Chairman on the Clayton County Board of

Commissioners. By way of further response, this Defendant shows that the method

of service of process of a Georgia county is governed by FRCP 4 and no further

response from this Defendant is required. This Defendant is without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

in Paragraph 5 of the Complaint and, thus, the remaining allegations are denied.

                                            6.

      In response to Paragraph 6, this Defendant admits that this Court has subject

matter jurisdiction over claims asserting alleged violations of federal law and that

Plaintiff purports to bring such claims. However, this Defendant denies that Plaintiff

can state a claim for relief against her.

                                            7.

      This Defendant denies the allegations in Paragraph 7 of the Complaint as pled.




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                                           8.

      This Defendant admits the allegations in Paragraph 8 of the Complaint as to

the propriety of venue, only, but denies Paragraph 8 of the Complaint to the extent

that such allegations allege or infer that Plaintiff states a claim upon which relief can

be granted against this Defendant.

      DEFENDANT FELICIA FRANKLIN’S RESPONSE TO “FACTS”

   Defendant Felicia Franklin’s Response to “Ms. Bivins’ Background and
                      Employment at Clayton County”
                                           9.

      This Defendant admits that Ramona Bivins served in the position of Chief

Financial Officer (“CFO”) for Clayton County but is without sufficient information

or knowledge to form a belief as to the truth of the remaining allegations in

Paragraph 9 of the Complaint and, thus, the remaining allegations are denied.

                                          10.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 10 of the Complaint and, thus,

the allegations are denied.

                                          11.

      In response to the allegations in Paragraph 11 of the Complaint, this

Defendant responds that the role of the Clayton County CFO is purported to be set

forth by law in the County’s local acts at Sec. 2-13.5, “Chief financial officers and

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assistants,” and, thus, no response is required.1 This Defendant denies the allegations

in Paragraph 11 to the extent that those allegations attempt to expand the role of the

CFO or the Clayton County Finance Department beyond what is authorized by law,

and to the extent that the position of CFO was not lawfully created by the Clayton

County Board of Commissioners.

                                         12.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 12 of the Complaint and, thus,

the allegations are denied.

                                         13.

      In response to Paragraph 13, this Defendant denies that Ms. Bivins’

performance as CFO was “exemplary” and denies that the so-called “strong

evaluations” were accurate. This Defendant is without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations in Paragraph

13 of the Complaint and, thus, the allegations are denied.

                                         14.

      In response to Paragraph 14, this Defendant responds that the Code of Clayton

County, at Section 2-13.5(a), purports to place the CFO under the daily direction of


1
 This Defendant asserts that the Clayton County CFO position, purportedly created
by amendment to the County’s local laws, did not follow the mandates of the Georgia
Constitution thus said amendment is a legal nullity.
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the Clayton County Chair. Answering further, this Defendant asserts that, upon

information and belief, the position of CFO does not exist in Clayton County as such

position was allegedly created by an amendment to the Clayton County, Georgia

enabling legislation undertaken in derogation of the Georgia Constitution. This

Defendant is without sufficient information or knowledge to form a belief as to the

truth of the remaining allegations in Paragraph 14, and those allegations are, thus,

denied.

                                        15.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 15 of the Complaint and, thus,

the allegations are denied.

                                        16.

      In response to the allegations in Paragraph 16 of the Complaint, this

Defendant shows that any purported contract will speak for itself and, thus, no

response is required. By way of further response, this Defendant denies that any

valid employment contract existed between Plaintiff and Clayton County and further

denies that the CFO position was ever lawfully created. All other allegations in

Paragraph 16 of the Complaint are denied.




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                                         17.

      This Defendant denies the allegations in Paragraph 17 of the Complaint.

Answering further, the terms of Plaintiff’s purported contract speaks for itself as to

what was purportedly authorized thereunder.

                                         18.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 18 of the Complaint and, thus,

the allegations are denied. Answering further, the terms of any purported contract

between Clayton County and Mr. Stanford speaks for itself as to content and

meaning, and is the best evidence thereof.

                                         19.

      In response to the allegations in Paragraph 19 of the Complaint, this

Defendant shows that the terms of Plaintiff’s purported contract speaks for itself

and, thus, no response is required. By way of further response, this Defendant denies

that any valid employment contract existed between Plaintiff and Clayton County

and further denies that the position of CFO was ever lawfully created in Clayton

County. Any further allegations in Paragraph 19 are denied.




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                                         20.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 20 of the Complaint and, thus,

the allegations are denied.


    Defendant Felicia Franklin’s Response to “Bivins’ Husband’s Campaign
                 Activities for Commissioner DeMont Davis”
                                         21.

      In response to the allegations in Paragraph 21 of the Complaint, this

Defendant admits, upon information and belief, that Plaintiff is married to Mr.

Charlton Bivins, but states that she is without sufficient information or knowledge

to form a belief as to whether they were married “at all times relevant” to the

Complaint.

                                         22.

      In response to the allegations in Paragraph 22 of the Complaint, this

Defendant admits, upon information and belief, that Plaintiff is married to Mr.

Charlton Bivins, and that she has knowledge of same, but denies any allegation or

implication that Plaintiff’s marital relationship was a motivating factor in voting to

terminate Plaintiff’s employment and declare the purported contract invalid. By way

of further response, this Defendant states that she is without sufficient information

or knowledge to form a belief as to the knowledge of Commissioners Alieka


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Anderson and Gail Anderson and, thus, the remaining allegations in Paragraph 22

of the Complaint are also denied.

                                        23.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 23 of the Complaint and, thus,

the allegations are denied.

                                        24.

      This Defendant admits to knowledge of Mr. Bivins’ support of Commissioner

Davis’s reelection campaign, but denies any allegation or implication that such

knowledge was a motivating factor in voting to terminate Plaintiff’s employment

and/or declare the purported contract invalid. By way of further response, this

Defendant states that she is without sufficient information or knowledge to form a

belief as to the knowledge of Commissioners Alieka Anderson and Gail Hambrick

and, thus, the remaining allegations in Paragraph 24 of the Complaint are denied.

                                        25.

      This Defendant admits to supporting Ms. Scott’s campaign but denies any

allegation or implication that her support of Ms. Scott was a motivating factor in

voting to terminate Plaintiff’s employment and/or to declare the purported contract

invalid. By way of further response, this Defendant states that she is without

sufficient information or knowledge to form a belief as to the actions of


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Commissioner Alieka Anderson or Victor Hill and, thus, the remaining allegations

in Paragraph 25 of the Complaint are also denied.

                                         26.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 26 of the Complaint and, thus,

the allegations are denied.

                                         27.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 27 of the Complaint and, thus,

the allegations are denied.

                                         28.

      The allegations in Paragraph 28 are admitted insomuch as this Defendant did

provide an audio recording to Ms. Kemp on or about May 23, 2022. By way of

further response, this Defendant states that the referenced audio records—upon

proper authentication—will speak for itself as to its contents.

                                         29.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 29 of the Complaint and, thus,

the allegations are denied.




                                         14
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                                         30.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 30 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the audio recording—upon proper

authentication—will speak for itself as to its contents.

                                         31.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 31 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the articles referenced by Plaintiff

in Paragraph 31 of the Complaint—upon proper authentication—will speak for

themselves as to their content.

                                         32.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 32 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the article referenced by Plaintiff

in Paragraph 32 of the Complaint—upon proper authentication—will speak for itself

as to its content.


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                                        33.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 33 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the article referenced by Plaintiff

in Paragraph 33 of the Complaint—upon proper authentication—will speak for itself

as to its content.

                                        34.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 34 of the Complaint and, thus,

the allegations are denied.

                                        35.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 35 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the Facebook post referenced by

Plaintiff in Paragraph 35 of the Complaint—upon proper authentication—will speak

for itself as to its content.




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                                         36.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 36 of the Complaint and, thus,

the allegations are denied. By way of further response, and without waiving any

evidentiary objections, this Defendant shows that the Twitter post referenced by

Plaintiff in Paragraph 36 of the Complaint—upon proper authentication—will speak

for itself as to its content.

  Defendant Felicia Franklin’s Response to “Bivins is terminated and denied
                     contractually obligated severance”
                                         37.

       This Defendant admits the allegations in Paragraph 37 of the Complaint. By

way of further response, this Defendant also shows that the Board of

Commissioners’ public agenda will speak for itself as to its content.

                                         38.

       In response to the allegations in Paragraph 38, this Defendant states that she

is without sufficient information or knowledge to either admit or deny the

allegations, and thus they must stand as denied. This Defendant further states that

she cannot recall the specifics or contents of any conversations she may have had

before the meeting with Commissioner Anderson on June 7, 2022.




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                                        39.

      The allegations in Paragraph 39 are denied as pled. Answering further, this

Defendant shows that the duly adopted minutes and/or the video of the June 7, 2022

Clayton County Board of Commissioners meeting are the best evidence of what

occurred at that meeting. All allegations purporting to depict what occurred at that

meeting, to the extent in conflict with the minutes and/or the video of the meeting,

are denied.

                                        40.

      The allegations in Paragraph 40 are denied as pled. Answering further, this

Defendant shows that the duly adopted minutes and/or the video of the June 7, 2022

Clayton County Board of Commissioners meeting are the best evidence of what

occurred at that meeting. All allegations purporting to depict what occurred at that

meeting, to the extent in conflict with the minutes and/or video of the meeting, are

denied. Answering further, this Defendant acknowledges that at the June 7, 2022

meeting Plaintiff’s position with Clayton County was terminated. Answering still

further, this Defendant asserts that Clayton County’s so-called contract with the

Plaintiff was a legal nullity and further asserts that the position of CFO was never

properly created.




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                                          41.

      In response to the allegations in Paragraph 41 of the Complaint, this

Defendant admits that the purported contract was declared “ultra vires” by a 3-2 vote

of the Board. All allegations purporting to depict what occurred at that meeting, to

the extent in conflict with the minutes and/or the video of the meeting, are denied.

This Defendant denies any remaining allegations in Paragraph 41.

                                          42.

      Paragraph 42 is denied.

                                          43.

      Paragraph 43 is denied. Answering further, all allegations purporting to depict

what occurred at that meeting, to the extent in conflict with the minutes and/or

meeting video, are denied.

                                          44.

      Paragraph 44 is denied as pled. By way of further response, this Defendant

shows that the video recording and the minutes of the meeting speak for themselves

as to what occurred during the meeting.

                                          45.

      Paragraph 45 is denied as pled. By way of further response, this Defendant

shows that the video recording and the minutes of the meeting speak for themselves

as to what occurred during the meeting.


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                                        46.

      Paragraph 46 is denied as pled. By way of further response, this Defendant

shows that the video recording and the minutes of the meeting speak for themselves

as to what transpired during the meeting.

                                        47.

      The allegations contained in Paragraph 47 of the Complaint are admitted. By

way of further response, this Defendant shows that the video recording and the

minutes of the meeting speak for themselves as to what transpired during the

meeting.

                                        48.

      In response to the allegations in Paragraph 48, this Defendant states that she

is without sufficient information or knowledge to either admit or deny the

allegations, and thus they must stand as denied. This Defendant further states that

she cannot recall the specifics or contents of any conversations she may have had

after the meeting with Commissioner Anderson on June 7, 2022.

                                        49.

      In response to the allegations in Paragraph 49 of the Complaint, this

Defendant admits that she has not made a public statement regarding Plaintiff’s

termination. This Defendant is without sufficient information or knowledge to form




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a belief as to the truth of the remaining allegations in Paragraph 49 of the Complaint

and, thus, the remaining allegations are denied

                                         50.

      In response to the allegations in Paragraph 50 of the Complaint, this

Defendant denies the allegations directed at her personal knowledge or actions. By

way of further response, this Defendant shows that the remaining allegations are

directed at the personal knowledge or actions of other and that she is, therefore,

without sufficient information or knowledge to form a belief as to the truth of the

remaining allegations. Thus, the remaining allegations in Paragraph 50 of the

Complaint are also denied.

                                         51.

      The allegations in Paragraph 51 of the Complaint are denied.

                                         52.

      The allegations in Paragraph 52 of the Complaint are denied.

                                         53.

      The allegations in Paragraph 53 of the Complaint are admitted.

                                         54.

      The allegations in Paragraph 54 of the Complaint are admitted.




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                                         55.

      In response to the allegations in Paragraph 55, this Defendant denies that, at

the time Mr. Johnson was made interim CFO, that she had any knowledge regarding

his alleged forthcoming medical-related retirement. This Defendant is without

information or knowledge sufficient to form a belief as to whether Mr. Johnson had

in fact already announced his retirement or as to what Commissioner Anderson may

or may not have known at the time. As such, those allegations are also denied.

                                         56.

      Paragraph 56 is denied as pled. Answering further, this Defendant admits that

Mr. Johnson chose to retire a few weeks after being appointed as Interim CFO, but

is without information or knowledge sufficient to form a belief as to the motivation

for Mr. Johnson’s retirement.

                                         57.

      Paragraph 57 is denied as pled. Answering further, this Defendant admits that

Mr. Johnson chose to retire a few weeks after being appointed as Interim CFO, but

this Defendant denies taking any actions related to Mr. Johnson’s retirement based

upon “retribution for his perceived lack of loyalty.”




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     Defendant Felicia Franklin’s Response to “Anderson, Hambrick, and
            Franklin continue to retaliate after the termination”
                                        58.

      The allegations in Paragraph 58 of the Complaint are denied as pled. By way

of further response, this Defendant acknowledges that no severance payments have

been made to Plaintiff.

                                        59.

      Paragraph 59 is denied.

                                        60.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 60 of the Complaint and, thus,

the allegations are denied.

                                        61.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 61 of the Complaint and, thus,

the allegations are denied.

                                        62.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 58 of the Complaint and, thus,

the allegations are denied. Answering further, any written positions asserted by

Youngblood to the DOL are the best evidence of their content, context and meaning.

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                                        63.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 63 of the Complaint and, thus,

the allegations are denied.

                                        64.

       In response to the allegations in Paragraph 64 of the Complaint, this

Defendant shows that the document referred to as “Employment Agreement” will

speak for itself as to its contents.

                                        65.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 65 of the Complaint and, thus,

the allegations are denied.

                                        66.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 66 of the Complaint and, thus,

the allegations are denied.

                                        67.

       This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 67 of the Complaint and, thus,

the allegations are denied. Answering further, the minutes and/or meeting video of


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the October 5, 2021 Clayton County Board of Commissioners’ meeting are the best

evidence of what occurred as such meeting.

                                        68.

      The allegations in in Paragraph 68 of the Complaint are admitted.

                                        69.

      The allegations in in Paragraph 69 of the Complaint are admitted.

                                        70.

      The allegations in Paragraph 70 of the Complaint are admitted.

                                        71.

      Paragraph 71 is denied, as pled. Answering further, any purported 2013–2016

CFO contract is a written document and the best evidence of its context, content, and

meaning are contained within its four corners.

                                        72.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 72 of the Complaint and, thus,

the allegations are denied.

                                        73.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 73 of the Complaint and, thus,

the allegations are denied.


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                                         74.

      The allegations in Paragraph 74 of the Complaint are denied.

                                         75.

      In response to Paragraph 75, this Defendant admits that Clayton County has

psid for university courses taken by Clayton County COO Mr. Stanford. By way of

further response, this Defendant shows that she is without sufficient information or

knowledge regarding the details of those transactions to either admit or deny the

remaining allegations of Paragraph 75 and, thus, they are denied.

                                         76.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 76 of the Complaint and, thus,

the allegations are denied.

                                         77.

      The allegations in Paragraph 77 of the Complaint are denied as pled. By way

of further response, this Defendant shows that the vote of the Board on September

6, 2022, is memorialized in the official minutes which speak for themselves.

                                         78.

      Paragraph 78 is denied as pled. Answering further, Paragraph 78 references

a written letter from Charles Reed to the Plaintiff, which speaks for itself as to its




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content, context, and meaning, and is the best evidence thereof. No further response

is required.

                                         79.

      In response to the allegations in Paragraph 79 of the Complaint, this

Defendant shows, without waiving any evidentiary objections to the admissibility of

same, that the document referenced by Plaintiff—upon proper authentication—

speaks for itself as to its contents and no response from this Defendant is required.

                                         80.

      Paragraph 80 is denied as pled. Answering further, Paragraph 80 references

excerpts from various written documents wherein said documents, in full, speak for

themselves as to their respective content, context, and meaning, and are the best

evidence thereof. No further response is required.

                                         81.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 81 of the Complaint and, thus,

the allegations are denied.

                                         82.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 82 of the Complaint and, thus,

the allegations are denied.


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                                         83.

      In response to the allegations in Paragraph 83 of the Complaint, this

Defendant shows, without waiving any evidentiary objections to the admissibility of

same, that the document referenced by Plaintiff—upon proper authentication—

speaks for itself as to its contents and no response from this Defendant is required.

                                         84.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 84 of the Complaint and, thus,

the allegations are denied.

                                         85.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 85 of the Complaint and, thus,

the allegations are denied.

                                         86.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 86 of the Complaint and, thus,

the allegations are denied.




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         DEFENDANT FELICIA FRANKLIN’S RESPONSE TO
                                “COUNT ONE
                        First Amendment Retaliation
                     Asserted Through 42 U.S.C. § 1983
Against Defendants Clayton County and Anderson, Franklin, and Hambrick in
                   their individual and official capacities”
                                         87.

      Defendant Felicia Franklin incorporates her responses to Paragraphs 1

through 86 as if full restated herein.

                                         88.

      The allegations in Paragraph 88 of the Complaint are a restatement of law to

which no response from this Defendant is required. To the extent a response from

this Defendant is required, this Defendant admits that the First Amendment to the

Constitution of the United States of America prohibits governmental entities from

retaliating against persons for protected speech, but this Defendant denies that any

such retaliation occurred in this case and denies any wrongdoing or liability for her

actions connected with the subject matter of this action.

                                         89.

      The allegations in Paragraph 89 of the Complaint are a restatement of law to

which no response from this Defendant is required. To the extent a response from

this Defendant is required, this Defendant admits that the First Amendment to the

Constitution of the United States of America prohibits governmental entities from

retaliating against persons for protected association, but this Defendant denies that

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any such retaliation occurred in this case and denies any wrongdoing or liability for

her actions connected with the subject matter of this action.

                                          90.

      The allegations in Paragraph 90 of the Complaint are a restatement of law to

which no response from this Defendant is required. To the extent a response from

this Defendant is required, this Defendant admits that the First Amendment to the

Constitution of the United States of America protects political speech and expression

by public employees and their spouses, but this Defendant denies any wrongdoing

or liability for her actions connected with the subject matter of this action.

                                          91.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations in Paragraph 86 of the Complaint and, thus,

the allegations are denied.

                                          92.

      In response to the allegations in Paragraph 92 of the Complaint, this

Defendant admits to knowledge regarding Mr. Bivins’ support of Commissioner

Davis and admits to her support of Ms. Scott’s campaign. However, this Defendant

denies that her knowledge of Mr. Bivins’ political activity or her support of Ms.

Scott’s campaign was a motivating factor in her vote to terminate Ms. Bivins’

employment and declare the employment contract invalid. By way of further


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response, this Defendant shows that she is without sufficient information or

knowledge to form a belief as to the truth of the allegations in Paragraph 92 of the

Complaint to the extent they are directed at the knowledge and/or actions of others,

and, thus, the remaining allegations are denied.

                                        93.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in Paragraph 93 of the Complaint

and, thus, the allegations are denied. Answering further, Paragraph 93 is a statement

of legal conclusions to which no response is required.

                                        94.

      This Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in Paragraph 94 of the Complaint

and, thus, the allegations are denied. Answering further, Paragraph 94 is a statement

of legal conclusions to which no response is required.

                                        95.

      The allegations in Paragraph 95 are denied. By way of further response, this

Defendant states that the any “positive performance evaluations” are not indicative

of Plaintiff’s job performance, as Plaintiff was not evaluated by the entire Board of

Commissioners.




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                                 96.

The allegations in Paragraph 96 of the Complaint are denied.

                                 97.

The allegations in Paragraph 97 of the Complaint are denied.

                                 98.

The allegations in Paragraph 98 of the Complaint are denied.

                                 99.

The allegations in Paragraph 99 of the Complaint are denied.

                                100.

The allegations in Paragraph 100 of the Complaint are denied.

                                101.

The allegations in Paragraph 101 of the Complaint are denied.

                                102.

The allegations in Paragraph 102 of the Complaint are denied.

                                103.

The allegations in Paragraph 103 of the Complaint are denied.

                                104.

The allegations in Paragraph 104 of the Complaint are denied.

                                105.

The allegations in Paragraph 105 of the Complaint are denied.


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                                          106.

      The allegations in Paragraph 106 of the Complaint are denied.

                                          107.

      The allegations in Paragraph 107 of the Complaint are denied.

           DEFENDANT FELICIA FRANKLIN’S RESPONSE TO
                           “COUNT TWO
                     BREACH OF CONTRACT
                  Against Defendant Clayton County”
                                          108.

      Defendant Felicia Franklin incorporates her responses to Paragraphs 1

through 107 as if full restated herein.

                                          109.

      The allegations in Paragraph 109 are not directed to this Defendant. To the

extent a response from this Defendant is required, the allegations are denied.

                                          110.

      The allegations in Paragraph 110 are not directed to this Defendant. To the

extent a response from this Defendant is required, the allegations are denied.

                                          111.

      The allegations in Paragraph 111 are not directed to this Defendant. To the

extent a response from this Defendant is required, the allegations are denied.




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                                          112.

      The allegations in Paragraph 112 are not directed to this Defendant. To the

extent a response from this Defendant is required, the allegations are denied.

                                          113.

      The allegations in Paragraph 113 are not directed to this Defendant. To the

extent a response from this Defendant is required, the allegations are denied.

          DEFENDANT FELICIA FRANKLIN’S RESPONSE TO
                             “COUNT THREE
                 Punitive Damages Under 42 U.S.C. § 1983
  Against Defendants Franklin, Anderson, and Hambrick [in] their Individual
                                Capacities”
                                          114.

      Defendant Felicia Franklin incorporates her responses to Paragraphs 1

through 113 as if full restated herein.

                                          115.

      The allegations in Paragraph 115 of the Complaint are denied.

                                          116.

      The allegations in Paragraph 116 of the Complaint are denied.

                                          117.

      The allegations in Paragraph 117 of the Complaint are denied.

                                          118.

      The allegations in Paragraph 118 of the Complaint are denied.

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                                          119.

      The allegations in Paragraph 119 of the Complaint are denied.


  DEFENDANT FELICIA FRANKLIN’S RESPONSE TO “PRAYER FOR
                        RELIEF”
      To the extent a response is required to Plaintiff’s “Prayer for Relief,” this

Defendant denies the allegations therein and denies that Plaintiff is entitled any relief

from this Defendant.


      This Defendant denies any allegations of the Complaint not expressly

admitted in this Answer.


      WHEREFORE, having fully responded to Plaintiff’s Complaint, this

Defendant prays as follows:

      (a) That Plaintiff’s Complaint be dismissed in its entirety and judgment

          entered in favor of Defendant Felicia Franklin;

      (b) That all costs and expenses be taxed against Plaintiff;

      (c) That Defendant Felicia Franklin be awarded her reasonable attorney’s fees

          incurred in defending this action;

      (d) That Defendant Felicia Franklin be awarded such other relief as this Court

          deems just and proper.

      Respectfully submitted this 12th day of December, 2022.



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                                             /s/ Melissa A.Tracy
                                             Ken E. Jarrard
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                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com
                                             Counsel for Defendant Felicia
                                             Franklin

JARRARD & DAVIS, LLP
222 Webb Street
Cumming, Georgia 30040
(678) 455- 7150




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/ Melissa A.Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com




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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RAMONA THURMAN BIVINS,                   )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )         Civil Action Number:
                                         )         1:22-cv-04149-WMR
FELICIA FRANKLIN, in her                 )
individual and official capacities;      )
ALIEKA ANDERSON, in her                  )
individual and official capacities;      )
GAIL HAMBRICK, in her                    )
individual and official capacities;      )
and CLAYTON COUNTY,                      )
GEORGIA,                                 )
                                         )
      Defendants.                        )

                          CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

Defendant Felicia Franklin’s Answer to Plaintiff’s Complaint in the above-

styled civil action with the Clerk of Court by using the Court’s CM/ECF system,

which will automatically send notice of same to the attorneys of record.

      This 12th day of December, 2022.



                                              /s/ Melissa A. Tracy
                                              Melissa A. Tracy
                                              Georgia Bar No. 714477
                                              mtracy@jarrard-davis.com


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